Case 2:14-cv-00074-SPC-DNF Document 72 Filed 02/12/15 Page 1 of 2 PageID 896


                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

GREGORY LEE,

        Plaintiff,

v.                                                    CASE NO. 2:14-cv-00074-SPC DNF

CHECK MART OF FLORIDA, INC. d/b/a
MONEY MART, INC.

        Defendant.
                                               /

                     JOINT NOTICE TO COURT REGARDING SETTLEMENT

       Pursuant to Local Rule 3.08, the parties file this Joint Notice Regarding Settlement and

advise the Court that Plaintiff GREGORY LEE’s claims have been resolved in full. Accordingly,

the parties request that the Court administratively close the above action and enter an Order

dismissing the case, subject to the right of any party to move the Court within sixty (60) days

thereafter to reopen the case for good cause shown.

       Dated this 12th day of February 2015.

                                    Respectfully submitted,

                                    HENDERSON FRANKLIN STARNES & HOLT, P.A.

                                    s/John D. Agnew
                                    John D. Agnew
                                    Florida Bar No. 0027377
                                    P.O. Box 280
                                    Ft. Myers, FL 33902-0280
                                    Phone: 239.344.1364
                                    Fax: 239.344.1538
                                    E-mail: john.agnew@henlaw.com

                                    MANEY & GORDON, P.A.

                                    s/David P. Mitchell________________________________
                                    David P. Mitchell
                                    Florida Bar No. 067249
                                    101 East Kennedy Blvd., Suite 3170
                                    Tampa, FL 33602
                                    Phone: 813.221.1366
                                    Fax: 813.223.5920
                                    E-Mail: david@mitchellconsumerlaw.com
Case 2:14-cv-00074-SPC-DNF Document 72 Filed 02/12/15 Page 2 of 2 PageID 897



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk
of Court on February 12, 2015, using CM/ECF system which will send a notice of electronic
filings via the Court’s ECF system to all counsel authorized to receive notice of electronic filing.

                                      s/John D. Agnew
                                      John D. Agnew




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